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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


JUMP OPERATIONS, LLC,

                   Plaintiff,

       v.                                               Case No. 1:25-cv-00703

LIAM HEEGER,

                   Defendant.


                          NOTICE OF MOTION TO DISMISS
                  PLAINTIFF’S COMPLAINT FOR INJUNCTIVE RELIEF

        Defendant Liam Heeger respectfully moves the Court to dismiss Plaintiff Jump

Operations, LLC’s Complaint for Injunctive Relief pursuant to Federal Rule of Civil Procedure

12(b)(6). Defendant has set forth the bases for dismissal in an accompanying Memorandum of

Law.

       WHEREFORE, Defendant respectfully requests the Court enter an Order dismissing

Plaintiff’s Complaint for Injunctive Relief with prejudice, and for any other further relief the Court

deems appropriate.



                                      [signature page follows]
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Dated: February 7, 2025                  Respectfully submitted,

                                         COOLEY LLP

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                                    CERTIFICATE OF SERVICE

       I, Miriam Petrillo, an attorney, hereby certify that on February 7, 2025, I caused a true and

correct copy of the foregoing document to be electronically filed with the Clerk of Court via the

CM/ECF system, which will send notifications of such filing to all counsel of record.

                                                        /s/ Miriam Petrillo
                                                        Miriam Petrillo
